






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00851-CR






Gilbert Carbajal, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 51ST JUDICIAL DISTRICT

NO. A-10-0084-SB, THE HONORABLE JAY K. WEATHERBY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		A jury convicted Gilbert Carbajal of the felony offense of evading arrest with a motor
vehicle.  See Tex. Penal Code Ann. § 38.04(b)(2)(A) (West 2011).  The jury found the enhancement
paragraphs alleging two prior consecutive non-state jail felony convictions to be true and, pursuant
to the habitual offender punishment provision, assessed his punishment at confinement for
thirty&nbsp;years in the Texas Department of Criminal Justice.  See Tex. Penal Code Ann. § 12.42(d)
(West 2011).

		Carbajal's court-appointed attorney has filed a motion to withdraw supported by a
brief concluding that the appeal is frivolous and without merit.  The brief meets the requirements
of&nbsp;Anders v. California, 386 U.S. 738, 744 (1967), by presenting a professional evaluation of the
record&nbsp;demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio,
488&nbsp;U.S.&nbsp;75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).

		Carbajal received a copy of counsel's brief and was advised of his right to examine
the appellate record and to file a pro se brief.  See Anders, 386 U.S. at 744.  No pro se brief or other
written response has been filed.

		We have reviewed the record, including appellate counsel's brief, and find no
reversible error.  See Garner v. State, 300 S.W.3d 763, 766 (Tex. Crim. App. 2009); Bledsoe v. State,
178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).  We agree with counsel that the appeal is
frivolous.  Counsel's motion to withdraw is granted.

		The judgment of conviction is affirmed.


						__________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Henson and Goodwin

Affirmed

Filed:   November 10, 2011

Do Not Publish


